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                        IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



  IN RE JOHNSON & JOHNSON                      Civil No. 3:16-md-2738-MAS-RLS
  TALCUM POWDER PRODUCTS
  MARKETING, SALES, PRACTICES
  AND PRODUCTS LIABILITY
  LITIGATION

  This document relates to:
  Nikkia Hamilton

  Case No. 3:24-cv-07422



                                    NOTICE OF FILING

        Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

 Complaints) that the Short Form Complaint and Jury Demand was filed on July 1, 2024 on behalf

 of Plaintiff Nikkia Hamilton.


 DATED: July 8, 2024.                         Respectfully submitted,

                                              By: /s/ Daniel J. Thornburgh
                                              Daniel J. Thornburgh
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                                            189080


                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 8, 2024, a copy of the foregoing NOTICE OF FILING was

 filed via the Court’s CM/ECF electronic filing system. Notice of this filing will be sent by

 operation of the Court’s electronic filing system to all parties indicated on the electronic filing

 receipt. Parties may access this filing through the Court’s system.


                                                 Respectfully submitted,

                                                 By: /s/ Daniel J. Thornburgh
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